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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                      Plaintiffs,                  Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                  Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as           Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                      Defendant.

EDWARD GALMON, SR., et al.,

                      Plaintiffs,                  Consolidated with
                                                   Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                      Defendant.

                    EX PARTE MOTION FOR ADMISSION PRO HAC VICE

       In accordance with Local Civil Rule 83(b)(8) governing visiting attorneys to the United

States District Court for the Middle District of Louisiana, the undersigned, counsel of record for

Clay Schexnayder, in his official capacity as Speaker of the Louisiana House of Representatives,

and of Patrick Page Cortez, in his official capacity as President of the Louisiana Senate

(“Legislative Intervenors”), respectfully requests that this Court permit attorney Robert J. Tucker

(hereafter “Applicant”) to appear and participate pro hac vice as counsel on behalf of Legislative

Intervenors.

       1.      Applicant is a member in good standing of the bar of a court of the United States

or of the highest court of a state, specifically: Supreme Court of Ohio. See Local Civ. R.

83(b)(8)(A).
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       2.      Applicant is not a member of the bar of this Court. See id.

       3.      Pursuant to Local Civil Rule 83(b)(8), a declaration under oath by Applicant is

attached here as Exhibit A swearing that no disciplinary proceedings or criminal charges have been

instituted against Applicant. That declaration also contains the oath required by Local Civil Rule

83(b)(8)(D).

       4.      Attached to the Applicant’s declaration that is attached to this Motion is a certificate

from the presiding Judge or Clerk of the highest court of the state, or court of the United States,

issued within six months of the filing of this Motion, where Applicant has been so admitted to

practice, showing that that Applicant has been so admitted in such court, and that Applicant is in

good standing. See Local Civ. R. 83(b)(8)(B); Ex. A.

       WHEREFORE, the undersigned, a member of the bar of this Court in good standing,

respectfully requests that this Court enter an order permitting Applicant to appear pro hac vice for

Legislative Intervenors in the above-captioned matter.


Date: August 29, 2023                                 Respectfully submitted,

                                                      /s/ Michael W. Mengis
                                                      Michael W. Mengis (La. Bar No. 17994)
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                                                      Counsel for Clay Schexnayder, in his official
                                                      capacity as Speaker of the Louisiana House
                                                      of Representatives, and of Patrick Page
                                                      Cortez, in his official capacity as President of
                                                      the Louisiana Senate




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                              CERTIFICATE OF SERVICE

       I do hereby certify that on August 29, 2023, a copy of the foregoing pleading was filed

electronically with the Clerk of Court using the CM/ECF System, which will transmit a copy to

all counsel of record.

                                                  /s/ Michael W. Mengis
                                                  Michael W. Mengis
                                                  Bar Roll No. 17994
                                                  mmengis@bakerlaw.com




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